Case 1:17-cv-O4503-.]I\/|F Document 88 Filed 04/02/18 Page 1 of 12

UNI'I`ED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ROBERT ZIMMERMAN

Plaimiff,
"' No. 17-cv-4503-JMF

UBS AG et al.,

Defendants.

 

 

REPLY IN SUPPORT OF
ERNST & YOUNG LLP’S MOTION TO DISMISS
PLAINTIFF’S FIRST AMENDED COMPLAINT

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Case 1:17-cv-O4503-.]|\/|F Document 88 Filed 04/02/18 Page 2 of 12

TABLE OF CONTENTS
TABLE OF CONTENTS ................................................................................................................. i
TABLE OF AUTHORITIES .......................................................................................................... ii
INTRODUCTION ........................................................................................................................... 1
ARGUMENT ................................................................................................................................... 2
A. EY-US Was Not UBS’s Auditor .............................................................................. 2
B. UBS’s Financial-Statement Auditor Had No Role in Preparing the
“Risk Factors” Section of the CEFL Product Supplement. ..................................... 4
C. Plaintih" Concedes that the “Concealed” Information Was
Disclosed in UBS’s Audited Financial Statements .................................................. 5
D. rI'he Amended Complaint Fails to Plead Adequater Any Clairn
Against EY-US. ....................................................................................................... 7
E. The Court Should Dismiss PlaintiH’s Claims with Prejudice. ................................ 8
CONCLUSION ................................................................................................................................ 9

Case 1:17-cv-O4503-.]|\/|F Document 88 Filed 04/02/18 Page 3 of 12

TABLE OF AUTHORITIES

Cases
Bui v. Indus. Enters. ofAm.,

594 F. Supp. 2d 364 (S.D.N.Y. 2009) ........................................................................................ 8
Comas v. Merrill Lynch & Co.,

No. 92-cv-6560, 1993 WL 800778 (S.D.N.Y. July 2, 1993) ..................................................... 6
Drobner v. Bruce,

531 F. App’x 96 (2d Cir. 2013) ................................................................................................. 9
In re Gas Reclamation, Inc:. Sec. Litig.,

659 F. Supp. 493 (S.D.N.Y. 1987) ............................................................................................ 8
Goh v. Baldor Elec. Co.,

No. 3:98-mc-64, 1999 WL 20943 (`N.D. Tex. Jan. 13, 1999) .................................................... 4
Herman & MacLean v. Huddleston,

459 U.S. 375 (1983) ................................................................................................................... 8
I. Meyer Pincus &Assoc., P.C. v. Oppenheimer & Co.,

936 F.2d 759 (2d Cir. 1991) ....................................................................................................... 6
Nuevo Mundo Holdings v. Pricewa!erhouseCoopers LLP,

No. 03-cv-613, 2004 WL 112948 (S.D.N.Y. Jan. 22, 2004) ................................................. 3, 4
Tuttle v. Sky Bell Asset Mgt., LLC,

No. lO~cv-3588, 2011 WL 4713233 (N.D. Cal. Oct. 7, 2011) .................................................. 4
Wemer v. Wemer,

267 F.3d 288 (3d Cir. 2001) ....................................................................................................... 6
Statutes
15 U.S.C. § 77k ................................................................................................................................ 8
15 U.S.C. § 77l ................................................................................................................................. 8

ii

Case 1:17-cv-O4503-.]|\/|F Document 88 Filed 04/02/18 Page 4 of 12

Ernst & Young LLP (“EY-US”) submits this reply in support of its Motion to Disrniss
[Dkts. 72, 73] Plaintift’s First Amended Complaint [Dkt. 65-1] (“Amended Complaint”).

INTRODUCTION

Plaintifi`s Opposition [Dkt. 83] largely fails to address_much less refine-the hornbook
law and facts subject to judicial notice that form the foundation of EY-US’s Motion to Dismiss.
Instead, Plaintiif offers speculation, hyperbole, and highly implausible assertions that do nothing
to undercut the fundamental reasons why the claims against EY-US must be dismissed.

First, as the Prospectus states, the auditor of the financial statements of UBS AG
(“UBS”) was Switzerland-based Emst & Young Ltd, an entity not sued or served in this action.
Second, Plaintiff has not plausibly alleged any facts that show that UBS’s auditor had any duties
with respect to any part of the offering documents other than as serving as auditor of the
incorporated 2013 UBS audited financial statements, which Plaintiff admits are not at issue here.
Indeed, Plaintiff’s Opposition confirms that his “allegations involve the offering document for
CEFL and not UBS’s audited financial statements.” (Opp. at 29.) Third, the Amended
Complaint fails even the most lenient standard of plausibility when it repeatedly asserts that EY-
US and others concealed information that was publicly available in news articles, government
websites, and UBS’s own financial statements And even if P]aintiti`s case were not foreclosed
by these three fatal shortcomings, the Amended Complaint still fails to satisfy relevant pleading
standards, both plausibility and particularity, and fails to demonstrate essential elements of the
causes of action, including duty, scienter, justifiable reliance, loss causation, and materiality.

This case should be dismissed with prejudice. 'I`he Court already has allowed Plaintiff to
amend his complaint and ordered that “Plaintifl" will not be given any further opportunity to
amend.” (Oct. 26, 2017 Order [Dkt. 35] at l.) EY-US should not be forced to spend further

resources rebutting Plaintiff’s unsupported and implausible assertions.

Case 1:17-cv-O4503-.]|\/|F Document 88 Filed 04/02/18 Page 5 of 12

ARGUMENT

A. EY-US Was Not UBS’s Auditor.

The Amended Complaint names as defendants three different “Ernst & Young” entities:
(i) New York-based EY-US; (ii) a London-based firm called “Ernst & Young Ltd.”; and (iii) a
London-based firm called “EY Global LLP.” (Am. Compl. 1111 6-8.) It also purports to name as
defendants seven individuals who are alleged to be partners in one or more of the firm-
defendants. (Id. 1]1[ 24»28.) Of these defendants, only EY-US has been served with process and
has appeared in this action.l But EY-US is not, and at all relevant times was not, UBS’s auditor.
As expressly stated in the CEFL offering documents forming the basis of Plaintiff’s claims (as
Well as SEC filings incorporated into those docurnents), the auditor of UBS’s financial
statements was Switzerland-based Emst & Young Ltd (“EY»S\A/itzerland”). (See CEFL
Prospectus [Decl. Ex. B, Dkt. 74-2] at 76.)

In the Amended Complaint, Plaintiff appears to recognize this fact, as he attempts to tag
EY-US with liability not as the auditor for UBS but as the auditor for UBS Securities LLC. (See
Am. Compl. 111| 6, 347.) But, as EY-US demonstrates in its opening brief, none of Plaintiff’s
claims in any way arise out of UBS Securities LLC’s financial statements, let alone the audits of
those financial statements (Mot. Disrniss Mem. at 10.) ln his Opposition, Plaintifi` offers no
explanation of how that audit work has any bearing on his claims.

In an attempt to keep EY-US in the case, Plaintiff’s Opposition advances two new
theories of EY-US’s liability-neither of which is actually alleged in the Amended Complaint.

First, Plaintiff asserts that EY-US was “a lead auditor, along with Emst & Young Ltd. in the

 

1 Plaintiff’s various assertions that “representation” of the other firms or the individuals “has not
been withdrawn” (Opp. at 4-5) or that the individuals “admitted” certain of Plaintist allegations
(id. at 26) are therefore without any basis.

Case 1:17-cv-O4503-.]|\/|F Document 88 Filed 04/02/18 Page 6 of 12

audit of all UBS foreign entities.” (Opp. at 33.) Although Plaintiff’s basis for this assertion is
unclear, it is directly contradicted by the audit report itself, which expressly states that it is issued
by, and signed on behalf of, EY-Switzerland. (See UBS 2013 Annual Report [Decl. Ex. C, Dkt.
74-5] at 346-49.) Moreover, this assertion in the Opposition contradicts the allegations in the
Amended Complaint. (See Am. Compl. ‘|[ 6 (alleging that EY-US was the “public auditor of
UBS Securities LLC”); id. 1[ 347 (alleging that “Ernst & Young Ltd.” provided an opinion on the
financial statements of “UBS AG” and that EY-US provided an opinion on the financial
statements of “UBS Securities LLC”).) To the extent that Plaintiff is surrnising EY-US’s role
based on the fact that one of the signatories of EY-Switzerland’s audit report is identified as a
“Certified Public Accountant (U.S.),” the licensure jurisdiction of that individual does nothing to
establish that EY-US must have been a “lead auditor” of UBS AG’s financial statements,
particularly when he signed on behalf of EY-Switzerland.

Second, Plaintiff argues that EY-US was the “alter ego” or “agent” of the other audit
firm-defendants (Opp. at 34.) The Amended Complaint does not allege facts to support either
of these relationships To plead a claim based on “alter ego,” a plaintiff must allege, among
other things, that “the owner exercised such control that the corporation has become a mere
instrumentality of the owner, who is the real actor.” Nuevo Mundo Holdings v.
PricewaterhouseCoopers LLP, No. 03-cv-6l3, 2004 WL 112948, at *6 (S.D.N.Y. Jan. 22, 2004)
(citing Freeman v. Complex Computing Co., 119 F.3d 1044, 1052 (2d Cir. 1997)). And to plead
liability based on “agency,” a plaintiff must allege: “(1) the manifestation by the principal that
the agent shall act for him; (2) the agent’s acceptance of the undertaking; and (3) an
understanding between the parties that the principal is to be in control of the undertaking.” Id. at

*4 (citing Restatement (Second) of Agency § l cmt. b). The Amended Complaint (and the

Case 1:17-cv-O4503-.]|\/|F Document 88 Filed 04/02/18 Page 7 of 12

Opposition, for that matter) pleads none of these elements. See id. (dismissing claims against
U.S. member firms of international accounting networks because the complaint failed to “clearly
and specifically articulate allegations of fact which can support the existence of at least one these
relationships”).2 Nor could it. As courts consistently have held, “[m]ernber firms in an
international accounting association are not part of a single firm and are neither agents nor
partners of other member firms simply by virtue of using the same brand name.” See id. at *3;
see also, e.g., Tuttle v. Sky Bell Asset Mgt., LLC, No. 10-cv-3588, 2011 WL 4713233, at *l
(N.D. Cal. Oct. 7, 2011) (noting that two Emst & Young entities have no relationship “except
that both are members of Emst & Young Global Limited, which is a global organization of
member firms practicing under the Emst & Young brand, but which are all separate legal
entities”); Goh v. Baldor Elec. Co., No. 3:98-rnc-64, 1999 WL 20943, at *3 (N.D. Tex. Jan. 13,
1999) (sarne).

B. UBS’s Financial-Statement Auditor Had No Role in Preparing the “Risk
Factors” Section of the CEFL Product Supplement.

Plaintifi` readily acknowledges that his “allegations involve the offering document for
CEFL and not UBS’s audited financial statements.” (Opp. at 29.) That acknowledgement is
fatal to Plaintiff’s claims against EY-US and all of the other auditor defendants (putting aside the

issue of which one actually was UBS’s auditor) because, as discussed in EY-US’s opening brief,

 

2 At the end of that portion of the Opposition, Plaintiff` includes a string cite to numerous
paragraphs of the Amended Complaint: “FAC 1[ 24, 100-102, 104, 114, 317, 458, 461-462, 480¢
482, 490, 876, 915, 927.” (Opp. at 34.) Not one of those paragraphs contains any relevant
allegations; indeed, the majority contain no allegations whatsoever about EY-US. (See Am.
Compl. 1|24 (identif`ying certain individual auditor defendants); 1111 100-102, 104, 114
(background on securities-fraud legal standards); id. 11 317 (amount of Plaintiff’s alleged loss);
id. 1111458, 461-462 (alleged reliance on the Product Supplement); id. 1]1| 480-482 (Plaintist not
having read UBS’s annual reports); z'd. 1[490 (allegation concerning alleged revenue of “EY
Global”); id. 11 876 (assertion of fi'aud claim); id. 11 915 (securities-fraud background); id. 11927
(alleged reliance on Product Supplement).)

Case 1:17-cv-O4503-.]|\/|F Document 88 Filed 04/02/18 Page 8 of 12

no auditor is plausibly alleged to have played any role in drafting the “Risk Factors” section of
the Product Supplement, which Plaintiff complains should have included the “undisclosed”
“crimes.” (See, e.g., Mot. Dismiss Mem. at 8-9; Am. Compl. 1[‘|| 202, 327, 540.) The CEFL
offering documents do not ascribe any authorship or other participation to an auditor-other than
to reference and incorporate UBS’s 2013 financial statements audited by EY-Switzerland.
Plaintiff cites no statute, regulation, professional standard, or other legal obligation imposing any
duty on that financial-statement auditor to have reviewed or approved any risk-factor disclosures
in UBS’s subsequently issued offering documents for CEFL. None exist. Cf PCAOB, AS
4101.08-.09 (the responsibilities of an auditor identified as an “expert” in a prospectus are to
“make sure that his name is not being used in a way that indicates that his responsibility is
greater than he intends”). Plaintiff"s Opposition makes no real attempt to refute this or to
otherwise explain why, in the face of his admission that his claim is not based on any
misrepresentation or omission in UBS’s audited financial statements, he has a viable claim
against UBS’s financial-statement auditor (let alone an auditing firm that did not audit UBS’S
financial statements).

C. Plaintiff Concedes that the “Concealed” Information Was Disclosed in UBS’s
Audited Financial Statements.

EY-US noted in its opening brief that nearly all of the information Plaintiff claims should
have been disclosed in the CEFL offering documents (that is, UBS’s purported “crimes” and so-
called “rnaterial risk factors”) was, in fact, disclosed in the UBS financial statements that were
expressly incorporated into the CEFL offering documents (Mot. Dismiss Mem. at 12-13.)
Plaintiff does not dispute this or attempt to show that any alleged “crime” or “material risk
factor” was not so disclosed. Indeed, Plaintiff acknowledges that information on what he calls

UBS’s “vast criminal history” was contained in “UBS AG’s annual reports.” (Opp. at 29.)

Case 1:17-cv-O4503-.]|\/|F Document 88 Filed 04/02/18 Page 9 of 12

Plaintiff instead asserts that his concealment claim is saved by the “bun‘ed facts doctrine.” (Id. at
17.)

That doctrine is inapplicable, as shown by the Third Circuit case on which Plaintiff relies:
Werner v. Werner, 267 F.3d 288 (3d Cir. 2001). In Werner, the plaintiff-investors complained
that certain disclosures pertaining to a stock repurchase plan were “buried” in various
documents. 267 F.3d at 297. The court recognized a line of cases applying a “buried facts
doctrine” to claims of inadequate disclosures in securities lilings, but the court explained that the
doctrine applies “where the manner of disclosure disguised or seriously distorted important
information.” Id. at 298. In that case, the doctrine did not apply because the disclosures at issue
were “prominently addressed in a contiguous section of the letter accompanying the 1991 annual
report, as well in the report itself and in subsequent annual reports.” Id.

Here, Plaintiff invokes the “buried facts doctrine” on the ground that UBS’s 2013 Annual
Report is a “voluminous document.” (Opp. at 17.) But Plaintiff makes no showing that the
disclosures were “disguised” or “seriously distorted.” ln fact, the notes to UBS’s 2013 Annual
Report contain a nearly ten-page contiguous section under the heading “Litigation, regulatory
and similar matters.” That section_which is also listed in the table of contents-discusses the
very matters that Plaintiff alleges UBS and its auditor failed to disclose. (See UBS 2013 Annual
Report [Decl. Ex. C, Dkt. 74-5] at 342, 416-25; see also Mot. Dismiss Mem. [Dkt. 73] at 12-13.)
Such a disclosure is not “buried.” See, e.g., I. Meyer Pincus & Assoc., P.C. v. Oppenheimer &
Co., 936 F.2d 759, 763 (2d Cir. 1991) (a disclosure section identified in the table of contents is
not “buried”); Comas v. Merrill Lynch & Co., No. 92-cv-6560, 1993 WL 800778, at *4
(S.D.N.Y. July 2, 1993) (fact that a disclosure comes at the end of a long document does not

render it inadequate under the “buried facts doctrine”).

Case 1:17-cv-O4503-.]|\/|F Document 88 Filed 04/02/18 Page 10 of 12

D. The Amended Complaint Fails to Plead Adequately Any Claim Against
EY-US.

Plaintiff’s Opposition devotes considerable space to discussing the pleading standards
that apply to Plaintiff’s claims, but it offers merely conclusory assertions that the Amended
Complaint satisfies those standards_not explanations of how it does so. The Amended
Complaint itself is devoid of any particularized allegations of conduct, let alone misconduct, by
EY-US or any other auditor defendant

Plaintiff"s pleading failures extend far beyond failure to plead with particularity, as
described further in EY¢~US’s opening brief, (See Mot. Dismiss Mem. at 13-24.) Suliice to say
here that all of the claims against EY-US are based on the implausible and illogical theory that
defendants intentionally concealed information that was disclosed in UBS’s financial statements,
regulatory filings, and news articles. Plaintiff cannot and does not plausibly plead scienter,
justifiable reliance, or materiality under that theory. Moreover, Plaintiff never pleads facts that
show that EY-US owed him any duty, nor does he plead that his losses were caused by the
materialization of a concealed risk conceming UBS that caused the price of an index-tracking
security, CEFL, to decline.

Plaintiff mostly disregards these issues in his Opposition, but he attempts to salvage two
of his securities fraud claims, under Sections ll and 12(a) of the 1933 Act, by asserting
repeatedly that those claims “do not require a showing of` scienter, reliance, or loss causation.”
(Opp. at 16; accord r'd. at 27, 33, 38.) Yet Plaintiff ignores the threshold limitations on liability
under those statutes that render them wholly inapplicable to EY-US in this case. Section 11
applies only to an accountant who has “prepared or certified” part of a “registration statement”_
and even then imposes potential liability only in connection with “the statement in such

registration statement, report, or valuation, which purports to have been prepared or certified by

Case 1:17-cv-O4503-.]|\/|F Document 88 Filed 04/02/18 Page 11 of 12

him.” 15 U.S.C. § 77k(a)(4); see also Herman & MacLean v. Huddleston, 459 U.S. 375, 387
n.22 (1983) (accountants “cannot be reached by a Section ll action” “with respect to parts of a
registration statement which they are not named as having prepared or certified”). No portion of
the CEFL offering documents “purports to have been prepared or certified by” E¥-US (and even
EY-Switzerland is identified only as the auditor of UBS’s financial statements, which Plaintiff
acknowledges do not form the basis of his claims). Plaintiff also fails to allege how or why the
alleged omissions regarding litigation or regulatory enforcement matters concerning UBS were
material with respect to the offering documents for the index-tracking CEFL securities.
Moreover, Section 12(a) applies only to the seller of securities, not to the seller’s auditor. See 15
U.S.C. § 77l(a); see also In re Gas Reclamation, Im:. Sec. Lz'tig., 659 F. Supp. 493, 508
(S.D.N.Y. 1987) (“[W]hile the banks . . . qualify as ‘sellers’ for purposes of section 12, the same
is not true for [auditor] Peat Marwick, and the section 12 claims must be dismissed as against
it . . . .”).

E. The Court Should Dismiss Plaintiff’s Claims with Prejudice.

Af`ter the defendants moved to dismiss Plaintiff"s original complaint, the Court allowed
Plaintiff to amend but stated that “Plaintiff will not be given any further opportunity to amend
the complaint to address issues raised by the motion to dismiss.” (Oct. 26, 2017 Order [Dkt. 35]
at l.) The Court should stand by that order. As outlined above, despite Plaintiff having the
opportunity to amend his complaint in light of EY-US’s first motion to dismiss, the Amended
Complaint still fails to state a claim against EY-US. Plaintiff"s claims should now be dismissed
with prejudice. See, e.g., Bui v. Indus. Enters. of Am., 594 F. Supp. 2d 364, 373 (S.D.N.Y. 2009)
(disrnissing amended complaint with prejudice where “Plaintiffs have already had an opportunity
to amend the Initial Complaint in response to the deficiencies pointed out by the first pre-answer

motion to dismiss”).

Case 1:17-cv-O4503-.]|\/|F Document 88 Filed 04/02/18 Page 12 of 12

Moreover, it would be futile to allow any of the other Emst & Young entity or individual
defendants to be served, and the Court should refuse to allow such service and dismiss the claims
against those unserved defendants See Drobner v. Bruce, 531 F. App‘x 96, 98 (2d Cir. 2013)
(afiirming district court’s refusal to allow service of futile complaint on unserved defendants).

CONCLUSION

For the reasons stated above and in EY-US’s opening brief, the Court should dismiss,

with prejudice, all of Plaintiff’s claims against EY-US, as well as claims against unserved Emst

& Young entities or individuals

Dated: April 2, 2018 Respectfully submitted,

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